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JSd4 (Rev. 10/2020 NDGA)

CIVIL COVER SHEET

The JS44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by Inw, except as provided by
local rules of court. This form is required for the use of the Clerk of Court for the purpose of initiating the civil docket record. (SEE INSTRUCTIONS ATTACHED)

I. (a) PLAINTIFF(S)
SHERRY HOLMES

(b) COUNTY OF RESIDENCE OF FIRST LISTED
PLAINTIFF. Unknown
(EXCEPT IN U.S, PLAINTIFF CASES)

DEFENDANT(S)

JAY E. JOHNSON; MARK LEGARDA; MARTIN RUSSO;
MATTHEW EAST; DOUG BONDAR; MARK BARNES;
NANCY LIVINGSTON; KENDALL PATIENT RECOVERY
U.S., LLC; CARDINAL HEALTH, INC., and JOHN DOE
NOS. 1-10.

COUNTY OF RESIDENCE OF FIRST LISTED
DEFENDANT Columbia
{IN U.S. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND
INVOLVED

(c) ATTORNEYS cera xame, appness, TELEPHONE NUMBER, AND

E-MAIL ADDRESS)
Darren W. Penn - darren@pennlawgroup.com
Willlam L. Ballard - Bill@pennlawgroup.com
John D. Hadden - john@pennlawgroup.com

ATTORNEYS ar known

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Georgia L. Bennett - gbennett@bakerlaw.com

Baker & Hostetler, LLP
1170 Peachtree Street, Suite 2400
Atlanta, GA 30309; 404-256-8425

Il. CITIZENSHIP OF PRINCIPAL PARTIES

(PLACE AN “X” IN ONE BOX FOR PLAINTIFF AND ONE BOX FOR DEFENDANT)
(FOR DIVERSITY CASES ONLY)

Alexandra “Sachi Cole" -sachi@pennlawgroup.com
4200 Northside Parkway, NW, Bldg One, Sulte 100
Atlanta, GA 30327 ; 404-961-7655

II. BASIS OF JURISDICTION

{PLACE AN “X” IN ONE BOX ONLY)

PLF DEF PLF DEF

C] 4 INCORPORATED OR PRINCIPAL
PLACE OF BUSINESS IN THIS STATE
V1,

0.

oO { Ch, CITIZEN OF THIS STATE 0 4

VI, C1, CITIZEN OF ANOTHER srateL_] 8
O, C1, CITIZEN OR SUBJECT OF A Cl.

C] 1 US. GOVERNMENT Cs FEDERAL QUESTION
PLAINTIFF (U.S. GOVERNMENT NOT A PARTY)

MV], DIVERSITY

(INDICATE CITIZENSHIP OF PARTIES
IN ITEM 18)

INCORPORATED AND PRINCIPAL
PLACE OF BUSINESS IN ANOTHER STATE

C), US. GOVERNMENT
DEFENDANT

FOREIGN NATION

FOREIGN COUNTRY
TV, ORIGIN erace an «x «tn one BOX ONLY}
O O O CO, TRANSRERRED FROM [—] MULTIDISTRICT/], APPEAL To DisTRICT JUDGE
| ORIGINAL 2 Removeo FROM L_Isremanpep rom L_l¢remstaTep or L_ls ANOTHER DISTRICT 6 LITIGATION - 7 FROM MAGISTRATE JUDGE
PROCEEDING STATE COURT APPELLATE COURT REOPENED (Specify District) TRANSFER JUDGMENT

MULTIDISTRICT
8 LITIGATION -~ ‘
DIRECT FILE

VY, CAUSE OF ACTION cerre tne us. civic stature UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE - DO NOT CITE
JURISDICTIONAL STATUTES UNLESS DIVERSITY)

Products Liability

(IF COMPLEX, CHECK REASON BELOW)

C] 1, Unusually large number of parties. . Problems locating or preserving evidence

O 2. Unusually large number of claims or defenses. . Pending parallel investigations or actions by government.

3. Factual issues are exceptionally complex 8. Multiple use of experts,
4. Greater than normal volume of evidence. O 9. Need for discovery outside United States boundaries.
5. Extended discovery period is needed. IVkO, Existence of highly technical issues and proof.

al

CONTINUED ON REVERSE

FOR OFFICE USE ONLY.

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VI. NATURE OF SUIT (PLACE AN “X" IN ONE BOX ONLY)

CONTRACT -."0" MONTHS DISCOVERY TRACK

CIVIL RIGHTS - "4" MONTHS DISCOVERY TRACK

[1150 RECOVERY OF OVERPAYMENT &
ENFORCEMENT OF JUDGMENT

0 152 RECOVERY OF DEFAULTED STUDENT
LOANS (Excl. Veterans}

IQ 153 RECOVERY OF OVERPAYMENT OF
VETERAN'S BENEFITS

CONTRACT - "4" MONTHS DISCOVERY TRACK
110 INSURANCE
120 MARINE
130 MILLER ACT
El 140 NEGOTIABLE INSTRUMENT
[J] 151 MEDICARE ACT
160 STOCKHOLDERS' SUITS
[| 190 OTHER CONTRACT
[J 195 CONTRACT PRODUCT LIABILITY
| 196 FRANCHISE

REAL PROPERTY - "4" MONTHS DISCOVERY.
TRACK
210 LAND CONDEMNATION

4 220 FORECLOSURE

[~} 230 RENT LEASE & EJECTMENT

[_] 240 TORTS TO LAND

[ } 245 TORT PRODUCT LIABILITY

[| 290 ALL OTHER REAL PROPERTY

TORTS - PERSONAL INJURY - "4" MONTHS

DISCOVERY TRACK

310 AIRPLANE

345 AIRPLANE PRODUCT LIABILITY

[| 320 ASSAULT, LIBEL & SLANDER

[__] 330 FEDERAL EMPLOYERS’ LIABILITY

340 MARINE

345 MARINE PRODUCT LIABILITY

350 MOTOR VEHICLE

[_ }355 MOTOR VEHICLE PRODUCT LIABILITY

[_] 360 OTHER PERSONAL INJURY

[_] 362 PERSONAL INJURY - MEDICAL

MALPRACTICE
365 PERSONAL INJURY - PRODUCT LIABILITY

((-] 367 PERSONAL INJURY - HEALTH CARE/
PHARMACEUTICAL PRODUCT LIABILITY

[] 368 ASBESTOS PERSONAL INJURY PRODUCT
LIABILITY

TORTS - PERSONAL PROPERTY - "4" MONTHS
DISCOVERY TRACK
[_] 370 OTHER FRAUD
[]37) TRUTH IN LENDING
380 OTHER PERSONAL PROPERTY DAMAGE
| 385 PROPERTY DAMAGE PRODUCT LIABILITY

BANKRUPTCY -"0" MONTHS DISCOVERY TRACK,
422 APPEAL 28 USC 158
423 WITHDRAWAL 28 USC 157

440 OTHER CIVIL RIGHTS
441 VOTING
442 EMPLOYMENT
443 HOUSING/ ACCOMMODATIONS
445 AMERICANS with DISABILITIES - Employment
446 AMERICANS with DISABILITIES - Other
[2] 448 EDUCATION

IMMIGRATION - "0" MONTHS DISCOVERY TRACK
462 NATURALIZATION APPLICATION
465 OTHER IMMIGRATION ACTIONS

PRISONER PETITIONS - "0" MONTHS DISCOVERY,
TRACK

463 HABEAS CORPUS: Alien Detainee
510 MOTIONS TO VACATE SENTENCE
530 HABEAS CORPUS

535 HABEAS CORPUS DEATH PENALTY
340 MANDAMUS & OTHER

550 CIVIL RIGHTS - Filed Pro se

555 PRISON CONDITION(S) - Filed Pro se
5 560 CIVIL DETAINEE: CONDITIONS OF
CONFINEMENT

PRISONER PETITIONS - "4" MONTHS DISCOVERY

R

31

[“] 550 CIVIL RIGHTS - Filed by Counsel
[_] 555 PRISON CONDITION(S) - Filed by Counsel

FORFEITURE/PENALTY - "4" MONTHS DISCOVERY.
TRACK

625 DRUG RELATED SEIZURE OF PROPERTY
21 USC 881
CO 690 oTHER

LABOR - "4" MONTHS DISCOVERY TRACK
[J 710 FAIR LABOR STANDARDS ACT
A 720 LABOR/MGMT, RELATIONS

740 RAILWAY LABOR ACT
751 FAMILY and MEDICAL LEAVE ACT
790 OTHER LABOR LITIGATION

H 791 EMPL. RET. INC. SECURITY ACT

PROPERTY RIGHTS - "4" MONTHS DISCOVERY
TRACK

[] 820 COPYRIGHTS

[_] 840 TRADEMARK

[_} 880 DEFEND TRADE SECRETS ACT OF 2016 (DTSA)

ROPERTY RIGHTS - "8" MONTHS DISCOVERY
CK

Cl 830 PATENT

[_] 835 PATENT-ABBREVIATED NEW DRUG
APPLICATIONS (ANDA) - a/k/a
Hatch-Waxman cases

SOCIAL SECURITY -"0" MONTHS DISCOVERY
K

86) HIA (1395f1)
862 BLACK LUNG (923)
863 DIWC (405(g))
863 DIV (405(2))
864 SSID TITLE XVI
865 RSI (405(g))

FEDERAL TAX SUITS - "4" MONTHS DISCOVERY

870 TAXES (U.S. Plaintiff or Defendant)
(CJ 871 IRS - THIRD PARTY 26 USC 7609

OTHER STATUTES - "4" MONTHS DISCOVERY,
K

| 375 FALSE CLAIMS ACT
376 Qui Tans 31 USC 3729(a)
400 STATE REAPPORTIONMENT
430 BANKS AND BANKING
450 COMMERCE/ICC RATES/ETC,
460 DEPORTATION
470 RACKETEER INFLUENCED AND CORRUPT
ORGANIZATIONS
480 CONSUMER CREDIT
485 TELEPHONE CONSUMER PROTECTION ACT
490 CABLE/SATELLITE TV
H 890 OTHER STATUTORY ACTIONS
89] AGRICULTURAL ACTS
4 893 ENVIRONMENTAL MATTERS
895 FREEDOM OF INFORMATION ACT 899
[CL] 899 ADMINISTRATIVE PROCEDURES ACT/
REVIEW OR APPEAL OF AGENCY DECISION
Co 950 CONSTITUTIONALITY OF STATE STATUTES

R STATUTES - "8" MONTHS DISCOVERY

H 410 ANTITRUST
850 SECURITIES / COMMODITIES / EXCHANGE

OTHER STATUTES - “0” MONTHS DISCOVERY
TRACK

Ex] 896 ARBITRATION
(Confirm / Vacate / Order / Modify)

* PLEASE NOTE DISCOVERY
TRACK FOR EACH CASE
TYPE, SEE LOCAL RULE 26.3

VU. REQUESTED IN COMPLAINT:

CHECK 5 ves ACTION UNDER F.R.Civ.P, 23
YES C NO (CHECK YES ONLY IF DEMANDED IN COMPLAINT)

JURY DEMAND

DEMAND $

VIII. RELATED/REFILED CASE(S) IF ANY

JUDGE

DOCKET NO.__21-CV-111 (S.D.Ga.)

CIVIL CASES ARE DEEMED RELATED IF THE PENDING CASE INVOLVES: (CHECK APPROPRIATE BOX)
1, PROPERTY INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.

ch
os

SAME ISSUE OF FACT OR ARISES OUT OF THE SAME EVENT OR TRANSACTION INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
VALIDITY OR INFRINGEMENT OF THE SAME PATENT, COPYRIGHT OR TRADEMARK INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.

(]4. APPEALS ARISING OUT OF THE SAME BANKRUPTCY CASE AND ANY CASE RELATED THERETO WHICH HAVE BEEN DECIDED BY THE SAME

BANKRUPTCY JUDGE,

(]5. REPETITIVE CASES FILED BY PRO SE LITIGANTS.,
("J 6. COMPANION OR RELATED CASE TO CASE(S) BEING SIMULTANEOUSLY FILED (INCLUDE ABBREVIATED STYLE OF OTHER CASE(S)):

dn. EITHER SAME OR ALL OF THE PARTIES AND ISSUES IN THIS CASE WERE PREVIOUSLY INVOLVED IN CASE NO.
[7] Is NOT (check one box) SUBSTANTIALLY THE SAME CASE,

DISMISSED, ‘This case is

» WHICH WAS

Jaf eatin CH

4/1/23

SIGNATURE OF ATTORNEY OF RECORD

DATE

